Case 8:23-bk-10571-SC      Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27          Desc
                            Main Document    Page 1 of 21



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 7

 8 Proposed Special Counsel to Richard A. Marshack

 9

10                         UNITED STATES BANKRUPTCY COURT
11               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
12

13 In re:                                            Case No.: 8:23-bk-10571-SC
14 THE LITIGATION PRACTICE GROUP P.C.,               Chapter 11
15
            Debtor.                                  TRUSTEE’S EX PARTE NOTICE OF
16                                                   NON-MATERIAL MODIFICATION TO
                                                     PROMISSORY NOTE WITH
17                                                   ADDITIONAL LENDER AS PART OF
                                                     PREVIOUSLY APPROVED POST-
18                                                   PETITION FINANCING AND REQUEST
                                                     FOR APPROVAL OF SAME;
19
                                                     DECLARATION OF RICHARD A.
20                                                   MARSHACK IN SUPPORT THEREOF;
                                                     AND EXHIBITS
21
                                                     Date:        [N/A]
22                                                   Time:        [N/A]
                                                     Judge:       Hon. Scott C. Clarkson
23                                                   Place:       Courtroom 5C
24                                                                411 West Fourth Street
                                                                  Santa Ana, California 92701
25

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Case 8:23-bk-10571-SC         Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27               Desc
                               Main Document    Page 2 of 21



 1          TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY
 2 JUDGE, AND THE OFFICE OF THE UNITED STATES TRUSTEE:

 3          EX-PARTE NOTICE IS HEREBY GIVEN that, Richard A. Marshack, the Chapter 11
 4 Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of The Litigation Practice Group P.C.

 5 (the “Debtor” or “LPG”) in the above-captioned bankruptcy case (the “Case”), hereby files an Ex

 6 Parte Notice of Non-Material Modification of Promissory Note (“Note”) with Additional Lender as

 7 Part of Previously Approved Post-Petition Financing and Request for Approval of Same (the

 8 “Notice”).

 9          The Notice is provided to comply with the Interim Financing Oder, which allows the Trustee

10 to make any non-material modification to the Note, without further motion, but with notice to the

11 Court and to the United States Trustee. The modification to the Note is necessary to preserve the

12 value of the Debtor’s business to pay operational costs of the Debtor’s business between now and the

13 Final Hearing on the Debtor’s Proposed Post-Petition Financing on July 20, 2023. Nothing herein

14 will change any material provision of the Note approved by the Interim Order on the Debtor’s Post-

15 Petition Financing. Attached hereto as Exhibit A is the concurrently filed Declaration of Richard A.

16 Marshack in Support of Ex Parte Notice of Non Material Modification to Promissory Note With

17 Additional Lender as Part of Previously Proposed Post-Petition Financing (“Trustee Declaration”).

18 A true and correct copy of the Proposed Order Granting this Notice is attached to the Trustee
19 Declaration as Exhibit 1, and a true and correct copy of the proposed Super-Priority Promissory Note

20 is attached to the Trustee Declaration as Exhibit 2 and.

21

22 Dated: June 29, 2023                          Respectfully submitted,

23                                               DINSMORE & SHOHL LLP
24
                                                 By: /s/ Christopher B. Ghio
25
                                                    Christopher B. Ghio
26                                                  Christopher Celentino
                                                    Jonathan Serrano
27                                                  Proposed Special Counsel to Richard A. Marshack,
                                                    Chapter 11 Trustee
28

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Case 8:23-bk-10571-SC          Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27              Desc
                                Main Document    Page 3 of 21



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3          1.      Richard A. Marshack, the Chapter 11 Trustee (the “Trustee”) for the bankruptcy estate

 4 (the “Estate”) of The Litigation Practice Group, L.P. (the “Debtor” or “LPG”) hereby files this Ex

 5 Parte Notice of Non-Material Modification of Promissory Note (“Note”) with Additional Lender as

 6 Part of Previously Approved Post-Petition Financing and Request for Approval of Same (the

 7 “Notice”).

 8          2.      The Court may take judicial notice of the following:

 9                  a.      On March 20, 2023, the Debtor filed a voluntary petition for relief under

10 Chapter 11 of the Bankruptcy Code, commencing the Case.

11                  b.      After the Office of the United States Trustee (“UST”) filed the Motion by

12 United States Trustee to Dismiss or Convert Case Pursuant to 11 U.S.C. § 1112(b) [Docket No. 21]

13 and creditors Debt Validation Fund II, LLC; MC DVI Fund 1, LLC; and MC DVI Fund 2, LLC filed

14 the Motion by DVF and MC DVI to Dismiss Chapter 11 Case Pursuant to 11 U.S.C. §§ 105, 305,

15 349, & 1112, or in the Alternative Convert This Case to Chapter 7 or Appoint a Trustee [Docket No.

16 44], on May 4, 2021, the Court entered the Order Directing United States Trustee to Appoint Chapter

17 11 Trustee [Docket No. 58], thereby granting the UST’s motion and directing the UST to appoint a

18 Chapter 11 Trustee in the Case.
19                  c.      Pursuant to the Acceptance of Appointment as Chapter 11 Trustee [Docket No.

20 63], on May 8, 2023, I accepted my appointment as the Chapter 11 Trustee in the Case, and I continue

21 to serve in this capacity at this time.

22                  d.      On June 16, 2023, my counsel filed an Emergency Motion (I) for Entry of

23 Interim Order (A) Authorizing the Trustee to Obtain Post-Petition Financing and Superpriority

24 Administrative Claim Pursuant to 11 U.S.C. § 364 and (B) Setting Final Hearing; and Pursuant to

25 Final Hearing (II) for Entry of Final Order Approving Post-Petition Financing on a Final Basis

26 (“Financing Motion”) [Docket No. 119]. The Financing Motion asked the Bankruptcy Court to

27 approve a maximum of Eight Hundred Thousand Dollars and No Cents ($800,000.00) in post-petition

28 borrowing to fund essential expenses of the Estate including employee salaries. The Financing

                                                      3
Case 8:23-bk-10571-SC         Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27               Desc
                               Main Document    Page 4 of 21



 1 Motion also stated that the proposed post-petition lender already advanced Two Hundred Forty

 2 Thousand Dollars and No Cents ($240,000.00) to the Estate to pay outstanding employee wages

 3 (“First Advance”) and that the maximum borrowing request included the amount of the First Advance.

 4                 e.      The Court entered an interim order granting the Financing Motion [Docket No.

 5 131] on June 22, 2023 (“Interim Order”). This Interim Order also set a final hearing on the Financing

 6 Motion for July 20, 2023 at 9:30 AM. The Interim Order authorized the Trustee to enter into any non-

 7 material amendment or modification to the Note, including but not limited to agreeing on the amount

 8 of the subsequent advance, without further order of this Court, provided that any such non-material

 9 amendment or modification is set forth in writing and signed by the Trustee and the Lender, and

10 provided that the Trustee provides notice of any such amendment or modification to the Court and

11 the Office of the United States Trustee.

12          3.     Following the filing of the Financing Motion and the entry of the Interim Order,

13 Resolution Ventures, the lender identified in the Financing Motion, advised it was unable to provide

14 any additional funding to the Estate. Without the ability to borrow the additional funds authorized in

15 the Interim Order, the Trustee will be unable to pay the necessary payroll expenses that must be paid

16 before the Final Hearing on the Financing Motion.

17          4.     A third party is willing to serve as a lender to the Estate on the same terms and

18 conditions set out in the Financing Motion and approved in the Interim Order. Borrowing from this
19 third party would permit the Estate to borrow up to the amount of the Remaining Credit under the

20 terms set forth in that certain Super-Priority Promissory Note (“Additional Note”). A true and correct

21 copy of the Additional Note is attached to the Trustee Declaration as Exhibit 2. The Additional Note

22 and the Note with Resolution Ventures for the First Advance will be of equal priority and will be

23 repaid pari passu.

24          5.     Given the Interim Order’s authorization of non-material changes to the post-petition

25 financing, the Estate is filing this Notice that the Additional Note has been executed pursuant to the

26 authority given the Trustee in the Interim Order and requesting that the Bankruptcy Court approve

27 these actions on an ex parte basis pending the Final Hearing because there is no significant change in

28 the terms of the borrowing, the amount that can be borrowed, or the position of the Estate. This

                                                      4
Case 8:23-bk-10571-SC         Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                 Desc
                               Main Document    Page 5 of 21



 1 Notice has been filed to comply with the requirements for non-material modifications in the Interim

 2 Order and to provide notice of the execution of the Additional Note to permit the Estate to obtain the

 3 interim relief sought in the Financing Motion and approved in the Interim Order.

 4          6.      The Estate must utilize its authority to draw against the funds already approved in the

 5 Interim Order. The terms of the Additional Note are the materially same terms proposed in the

 6 Financing Motion, and the two lenders to the Estate will be equally situated and repaid pari passu.

 7 Thus, there is no concern or prejudice to parties in interest. The Trustee believes that execution of the

 8 Additional Note is reasonable and is consistent with the authority given for non-material changes to

 9 the terms of the financing in the Interim Order. In his Declaration, the Trustee sets out his belief that

10 the execution of the Additional Note is a sound exercise of his business judgment and is appropriate

11 and necessary under the circumstances

12          7.      For all these reasons and pursuant to the authority in the Interim Order, the Court

13 should enter the order, substantially in the form attached as Exhibit 1 to the Trustee Declaration,

14 approving that the Notice satisfies the requirement of the Interim Order, and allow the Trustee to

15 make the requested non-material modification. .

16

17 Dated: June 29, 2023                           Respectfully submitted,

18                                                DINSMORE & SHOHL LLP
19
                                                  By: /s/ Christopher B. Ghio
20
                                                     Christopher B. Ghio
21                                                   Christopher Celentino
                                                     Jonathan Serrano
22                                                   Proposed Special Counsel to Richard A. Marshack,
                                                     Chapter 11 Trustee
23

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Case 8:23-bk-10571-SC   Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27   Desc
                         Main Document    Page 6 of 21




                             EXHIBIT A




                                  EXHIBIT A
                                   Page 6
Case 8:23-bk-10571-SC      Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27             Desc
                            Main Document    Page 7 of 21


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 6
   Proposed Special Counsel to Richard A. Marshack,
 7 Chapter 11 Trustee

 8

 9
                            UNITED STATES BANKRUPTCY COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11
                                     SANTA ANA DIVISION
12

13                                                    Case No.: 8:23-bk-10571-SC
     In re:
14                                                    Chapter 11
     THE LITIGATION PRACTICE GROUP P.C.,
15                                                    DECLARATION OF RICHARD A.
              Debtor.                                 MARSHACK IN SUPPORT OF EX
16                                                    PARTE NOTICE OF NON MATERIAL
                                                      MODIFICATION TO PROMISSORY
17                                                    NOTE WITH ADDITIONAL LENDER AS
                                                      PART OF PREVIOUSLY APPROVED
18                                                    POST-PETITION FINANCING
19                                                    Date:    N/A
                                                      Time:    N/A
20                                                    Judge:   Hon. Scott C. Clarkson
                                                      Place:   Courtroom 5C
21                                                             411 W. Fourth Street
                                                               Santa Ana, CA 92701
22

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                                       EXHIBIT A
     #31083207v2
                                        Page 7
Case 8:23-bk-10571-SC         Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27               Desc
                               Main Document    Page 8 of 21



 1                          DECLARATION OF RICHARD A. MARSHACK

 2 I, RICHARD A. MARSHACK, declare:

 3          1.      I am the Chapter 11 Trustee (“Trustee”) for the bankruptcy estate (“Estate”) of The

 4 Litigation Practice Group, P.C. (“Debtor”) in the above-captioned bankruptcy case (“Case”). As

 5 such, except as expressly stated otherwise, I have personal knowledge of the facts set forth below

 6 and could and would competently testify under oath thereto if requested to do so.

 7          2.      I submit this Declaration in support of my Ex Parte Notice of Non Material

 8 Modification To Promissory Note with Additional Lender As Part of Previously Approved Post-

 9 Petition Financing (the “Notice”), filed contemporaneously herewith. Capitalized terms not

10 otherwise defined herein have the same meanings ascribed to them in the Motion.

11          3.      The Court may take judicial notice of the following:

12                  a.     On March 20, 2023, the Debtor filed a voluntary petition for relief under

13 Chapter 11 of the Bankruptcy Code, commencing the Case.

14                  b.     After the Office of the UST filed the Motion by United States Trustee to

15 Dismiss or Convert Case Pursuant to 11 U.S.C. § 1112(b) [Docket No. 21] and creditors Debt

16 Validation Fund II, LLC; MC DVI Fund 1, LLC; and MC DVI Fund 2, LLC filed the Motion by

17 DVF and MC DVI to Dismiss Chapter 11 Case Pursuant to 11 U.S.C. §§ 105, 305, 349, & 1112, or

18 in the Alternative Convert This Case to Chapter 7 or Appoint a Trustee [Docket No. 44], on May 4,

19 2021, the Court entered the Order Directing Unites States Trustee to Appoint Chapter 11 Trustee
20 [Docket No. 58], thereby granting the UST’s motion and directing the UST to appoint a Chapter 11

21 Trustee in the Case.

22                  c.     Pursuant to the Acceptance of Appointment as Chapter 11 Trustee [Docket

23 No. 63], on May 8, 2023, I accepted my appointment as the Chapter 11 Trustee in the Case, and I

24 continue to serve in this capacity at this time.

25                  d.     On June 16, 2023, my counsel filed an Emergency Motion (I) For Entry of

26 Interim Order (A) Authorizing the Trustee to Obtain Post-Petition Financing and Superpriority

27 Administrative Claim Pursuant to 11 U.S.C. § 364 and (B) Setting Final Hearing; And Pursuant to

28 Final Hearing (II) For Entry of Final Order Approving Post-Petition Financing on a Final Basis

                                                    1
                                            EXHIBIT A
     #31083207v2
                                             Page 8
Case 8:23-bk-10571-SC        Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                  Desc
                              Main Document    Page 9 of 21



 1 (“Financing Motion”) [Docket No. 119]. The Financing Motion asked the Bankruptcy Court to

 2 approve a maximum of Eight Hundred Thousand Dollars and No Cents ($800,000.00) in post-

 3 petition borrowing to fund essential expenses of the Estate including employee salaries. The

 4 Financing Motion also stated that the proposed post-petition lender already advanced $240,000.00

 5 to the Estate to pay outstanding employee wages (“First Advance”) and that the maximum

 6 borrowing request included the amount of the First Advance.

 7                 e.     By reference, I incorporate my Declaration that was filed with the Financing

 8 Motion.

 9                 f.     The Court entered an interim order granting the Financing Motion [Docket

10 No. 131] on June 22, 2023. This Interim Order also set a final hearing on the Financing Motion for

11 July 20, 2023 at 9:30 AM.

12                 g.     The Interim Order authorized me to enter into any non-material amendment or

13 modification to the Note, including but not limited to agreeing on the amount of the subsequent

14 advance, without further order of this Court, provided that any such non-material amendment or

15 modification is set forth in writing and signed by myself and the Lender, and provided that I provide

16 notice of any such amendment or modification to the Court and the Office of the United States

17 Trustee;

18          4.     Following the filing of the Financing Motion and the entry of the Interim Order,

19 Resolution Ventures, the lender identified in the Financing Motion, told me it was unable to provide
20 any additional funding to the Estate. Without the ability to borrow up to the Five Hundred and Sixty

21 Thousand Dollars and No Cents (“Remaining Credit”) that was sought in the Financing Motion, I will

22 be unable to pay the necessary payroll expenses that must be paid before the Final Hearing on the

23 Financing Motion.

24          5.     I have identified a third party that is willing to serve as a lender to the Estate on the

25 same material terms and conditions set out in the Financing Motion. Borrowing from this third party

26 would permit the Estate to borrow up to the amount of the Remaining Credit under the terms set forth

27 in that certain Super-Priority Promissory Note (“Additional Note"). A true and correct copy of the

28

                                                   2
                                           EXHIBIT A
     #31083207v2
                                            Page 9
Case 8:23-bk-10571-SC         Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                Desc
                              Main Document     Page 10 of 21



 1 Additional Note is attached as Exhibit 2. The Additional Note and the Note with Resolution Ventures

 2 for the First Advance will be of equal priority and will be repaid pari passu.

 3          6.     Given the Interim Order’s authorization of non-material changes to the post-petition

 4 financing, I ask the Court to approve this Notice on an ex parte basis pending the Final Hearing

 5 because there is no significant change in the terms of the borrowing, the amount that can be borrowed,

 6 or the position of the Estate. This Ex Parte Notice has been filed to comply with the requirements for

 7 non-material modifications in the Interim Order and to provide notice of the execution of the

 8 Additional Note to permit the Estate to obtain all the relief sought in the Financing Motion.

 9          7.     The Estate must utilize its authority to draw against the funds already approved in the

10 Interim Order, The terms of the Additional Note are materially identical to the terms proposed in the

11 Financing Motion, and the two lenders to the Estate will be equally situated and repaid pari passu.

12 Thus, there is no concern or prejudice to parties in interest. I believe that the change is reasonable,

13 accounts for my need in obtaining the post-petition financing quickly, and is consistent with the

14 authority given for non-material changes to the terms of the financing in the Interim Order.

15          8.     I believe that entry of an ex parte order on this Notice, satisfies my requirement under

16 the Interim Order, of having provided notice to this Court and the United States Trustee, regarding

17 the non-material modification to the note. A true and correct copy of the proposed order granting this

18 Ex Parte Motion is attached as Exhibit 1.

19          I declare under penalty of perjury under the laws of the United States of America that the
20 foregoing is true and correct.

21

22 DATED: June 29, 2023
                                                                Richard A. Marshack
23

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                                                    3
                                            EXHIBIT A
     #31083207v2
                                            Page 10
Case 8:23-bk-10571-SC   Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27   Desc
                        Main Document     Page 11 of 21




                             EXHIBIT 1




                                  EXHIBIT A                         EXHIBIT 1
                                  Page 11                            Page 4
Case 8:23-bk-10571-SC         Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                 Desc
                              Main Document     Page 12 of 21



                                      SUPER-PRIORITY
                                     PROMISSORY NOTE

This super priority promissory note (“Note”) is made by and between Richard A. Marshack,
Chapter 11 Trustee (“Trustee”) of THE LITIGATION PRACTICE GROUP P.C., (“Borrower” or
“Estate”) in Bankruptcy Case No. 8:23-bk-10571-SC (“Bankruptcy Case”) currently pending in
the Central District of California, Santa Ana Division (“Bankruptcy Court”) and Liberty
Acquisitions Group, Inc. or Assignee (“Lender”).

1. LOAN: On June __, 2023 (“Start Date”), Lender shall make available to loan, and Borrower
may borrow up to the maximum principal amount of FIVE HUNDRED AND SIXTY
THOUSAND DOLLARS AND NO CENTS ($560,000.00) of this Note in one or more borrowings
with interest accruing on the unpaid principal balance thereof at a rate of EIGHT percent
(8.0%) per annum, beginning at the earlier of the Start Date or the date of such borrowing.

2. DUE DATE: The balance of all distributed funds under this Note, including all accrued interest,
will be due and payable upon the earlier occurrence of the following: (i) ONE (1) year from the
Start Date; or (ii) ONE (1) business day following receipt and sufficiency of the Deposit (as that
term is defined in the Asset Purchase Agreement [defined, below]) due to Trustee, as Seller,
pursuant to that certain AGREEMENT OF PURCHASE AND SALE AND JOINT ESCROW
INSTRUCTIONS (the “Asset Purchase Agreement”), by and among Trustee and Lender, provided
entry of a Sale Order (as that term is defined in the Asset Purchase Agreement) by the U.S.
Bankruptcy Court ("Due Date"). Repayment of this Note will be made from the Deposit pursuant
to the terms of this Note without objection, offset, or recourse and it is independent from any other
agreement or the Asset Purchase Agreement. Repayment shall not be subject to any further court
order and shall be automatically due and owing up receipt of a deposit sufficient to repay this
Super-Priority Note. The repayment under this Super-Priority Note shall be first made to Lender
from the deposit. At the Due Date, either in (i) or (ii), all accumulated interest shall be added to
the payoff amount of principle plus interest. Interest shall accrue daily on the Super-Priority Note.
In the event of a payoff before 30 days, the Lender shall receive a minimum of 30 days interest on
the Super-Priority Note.

3. PRIORITY: This Note, in an amount of funds distributed to the Estate, shall be entitled to
super administrative priority pursuant 11 U.S. Code § 364 (c) (without prejudice for the Estate to
obtain other super administrative priority loans). The super administrative priority of this Note
will be pari passu with the debt owed to Resolution Ventures for the Two Hundred and Forty
Thousand Dollars and No Cents ($240,000.00) that was previously loaned to the Estate but the
first monies paid from the deposit by a Buyer to the Asset Purchase Agreement shall first go to the
Lender of this Super-Priority Note.

4. ALLOCATION OF PAYMENTS: Any payments made before the Due Date hall be first
credited to interest due and any remainder will be credited to principal.

5. WAIVER OF PRESENTMENTS: Borrower waives presentment for payment, notice of
dishonor, protest and notice of protest.




                                            EXHIBIT A                                   EXHIBIT 1
                                            Page 12                                      Page 5
Case 8:23-bk-10571-SC         Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                   Desc
                              Main Document     Page 13 of 21



6. SEVERABILITY: In the event that any provision herein is determined to be void or
unenforceable for any reason, such determination shall not affect the validity or enforceability of
any other provision, all of which shall remain in full force and effect.

7. INTEGRATION: There are no verbal or other agreements which modify or affect the terms of
this Note. This Note may not be modified or amended except by written agreement signed by
Borrower and Lender.

8. CONFLICTING TERMS: The terms of this Note shall control over any conflicting terms in
any referenced agreement or document.

9. NOTICE: Any notices required or permitted to be given hereunder shall be given in writing
and shall be delivered (a) in person, (b) by certified mail, postage prepaid, return receipt requested,
(c) by facsimile, or (d) by a commercial overnight courier that guarantees next day delivery and
provides a receipt, and such notices shall be made to the parties at the addresses listed below.

10. TRUSTEE CAPACITY. Trustee is executing this Note solely in his capacity as the
Chapter 11 Trustee in the Bankruptcy Case and under no circumstances will Trustee or any entity
in which he is a member, including Marshack Hays LLP, have any personal liability for this Note,
or any obligations under this Note.

11. VENUE AND JURISDICTION. Any dispute relating to this Note is subject to the exclusive
jurisdiction and venue of the Bankruptcy Court where the Case is pending.

12. GOVERNING LAW: This note shall be governed under the laws in the State of California as
applied by the Bankruptcy Court.



Lender                                                                 Date ___________________

_______________________________________




Borrower                                                               Date ___________________


_______________________________________
Richard A. Marshack (“Trustee”),
solely in his capacity as the Chapter 11 Trustee of
THE LITIGATION PRACTICE GROUP P.C.

870 Roosevelt
Irvine, CA 92620




                                             EXHIBIT A                                    EXHIBIT 1
                                             Page 13                                       Page 6
Case 8:23-bk-10571-SC   Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27   Desc
                        Main Document     Page 14 of 21




                             EXHIBIT 2




                                  EXHIBIT A                         EXHIBIT 2
                                  Page 14                             Page
Case 8:23-bk-10571-SC        Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27             Desc
                             Main Document     Page 15 of 21



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      Christopher Celentino (State Bar No. 131688)
  2   Jonathan Serrano (State Bar No. 333225)
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  5   christopher.ghio@dinsmore.com
      christopher.celentino@dinsmore.com
  6   jonathan.serrano@dinsmore.com
  7   Proposed Special Counsel to Richard A. Marshack,
      Chapter 11 Trustee
  8

  9
                               UNITED STATES BANKRUPTCY COURT
 10
                                CENTRAL DISTRICT OF CALIFORNIA
 11
                                         SANTA ANA DIVISION
 12

 13   In re:                                            Case No. 8:23-bk-10571-SC
 14   THE LITIGATION PRACTICE GROUP P.C.,               Chapter 11
 15            Debtor.                                  EX PARTE ORDER ON NOTICE OF
                                                        NON-MATERIAL MODIFICATION TO
 16                                                     PROMISSORY NOTE WITH
                                                        ADDITIONAL LENDER AS PART OF
 17                                                     PREVIOUSLY APPROVED POST-
                                                        PETITION FINANCING AND REQUEST
 18                                                     FOR APPROVAL OF SAME
 19                                                   Date:    N/A
                                                      Time:    N/A
 20
                                                      Judge:   Hon. Scott C. Clarkson
 21                                                   Place:   Courtroom 5C
                                                               411 West Fourth Street
 22                                                            Santa Ana, CA 92701

 23

 24

 25            On June 16, 2023, Richard A. Marshack, the Chapter 11 Trustee (the “Trustee”) for the

 26   bankruptcy estate (the “Estate”) of The Litigation Practice Group, P.C., in the above-captioned

 27   bankruptcy case filed a Notice of Motion and Emergency Motion (I) for Entry of Interim Order: (A)

 28   Authorizing The Trustee to Obtain Post-Petition Financing and Superpriority Administrative


                                          EXHIBIT A 1                               EXHIBIT 2
      #31080386v1                         Page 15                                     Page
Case 8:23-bk-10571-SC          Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                Desc
                               Main Document     Page 16 of 21



  1   Expense Claim Pursuant to 11 U.S.C. § 364; and (B) Setting Final Hearing; and Pursuant to Final

  2   Hearing, (II) for Entry of Final Order Approving Post-Petition Financing on a Final Basis [Docket

  3   No. 119] (the “Financing Motion”). This Court heard the Financing Motion and ON June 22, 2023,

  4   entered an Interim Order [Docket No. 131] granting the Financing Motion that, among other things,

  5   set a Final Hearing on July 20, 2023, authorized the Trustee to borrow up to $800,000.00 of Post-

  6   Petition Financing in advance of the Final Hearing, and gave the Trustee the authority to make non-

  7   material changes to the terms of the Post-Petition Financing in advance of the Final Hearing with

  8   proper notice.

  9          On June 29, 2023, the Trustee filed a Notice in the case that the lender identified in the

 10   Financing Motion as being willing and able to lend the $800,000 to the Estate was unable or

 11   unwilling to loan any amount beyond the $240,000 that it had previously advanced. Because the

 12   Estate required additional funding to make payroll and pay other necessary expenses, the Trustee

 13   reached out to third parties to identify a new third party willing to lend the balance of the funds to

 14   the Estate on the same terms as the lender identified in the Financing Motion. One of these third

 15   parties was willing to lend to the Estate on the same material terms, and the Trustee filed the Notice

 16   advising of the Estate’s intention to execute a second promissory note with the new lender

 17   containing the materially same terms proposed in the Financing Motion to provide funding until the

 18   Final Hearing. The Trustee asks that the Court approve the Ex Parte Notice. The Court, having

 19   considered the Notice, all pleadings filed in support of, and good cause appearing, and for the

 20   reasons already stated on the record, and in the Notice:

 21          1.        Approves the Ex Parte Notice;

 22          2.        Approves the non-material modifications of the second Super-Priority Promissory

 23   Note (the "Additional Note") as attached as Exhibit 2 to the Trustee’s Declaration;

 24          3.        Finds that there is no stay of this Order, including no stay pursuant to Rule 6004(h)

 25   of the Federal Rules of Bankruptcy Procedure (to the extent applicable);

 26   ///

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                                             EXHIBIT A                                  EXHIBIT 2
      #31080386v1                            Page 16                                      Page
Case 8:23-bk-10571-SC        Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                 Desc
                             Main Document     Page 17 of 21



  1          4.      Retains jurisdiction with the Court with respect to all matters arising from or related

  2   to the implementation of this Order.

  3          IT IS SO ORDERED.

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                                             EXHIBIT A                                  EXHIBIT 2
      #31080386v1                            Page 17                                      Page
Case 8:23-bk-10571-SC                 Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                                      Desc
                                      Main Document     Page 18 of 21



                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify):TRUSTEE’S EX PARTE NOTICE OF NON-
MATERIAL MODIFICATION TO PROMISSORY NOTE WITH ADDITIONAL LENDER AS PART OF PREVIOUSLY
APPROVED POST-PETITION FINANCING AND REQUEST FOR APPROVAL OF SAME; MEMORANDUM OF
POINTS AND AUTHORITIES
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On June 29, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On June 29, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 29, 2023, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.

                  JUDGE’S COPY
                  The Honorable Scott C. Clarkson
                  United States Bankruptcy Court
                  Central District of California
                  Ronald Reagan Federal Building and Courthouse
                  411 West Fourth Street, Suite 5130 / Courtroom 5C
                  Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  June 29, 2023                 Caron Burke
  Date                          Printed Name                                              Signature

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August 2010                           F 9013-3.1.PROOF.SERVICE
Case 8:23-bk-10571-SC                 Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                                      Desc
                                      Main Document     Page 19 of 21


1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-bk-10571-SC                 Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                                      Desc
                                      Main Document     Page 20 of 21



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June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-bk-10571-SC                 Doc 156 Filed 06/29/23 Entered 06/29/23 14:03:27                                      Desc
                                      Main Document     Page 21 of 21


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June 2012                              F 9013-.1.PROOF.SERVICE
